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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,               *
                                        *
              Plaintiff,                *
                                        *
       v.                               *           1:16-CV-03088-ELR
                                        *
STATE OF GEORGIA,                       *
                                        *
              Defendant.                *
                                        *
                                   _________

                                   ORDER
                                   _________

       Presently before the Court are the United States’ “Motion to Compel

Compliance with Rule 45 Subpoenas for Inspection of Premises Affiliated with the

Georgia Network for Educational and Therapeutic Support and Pioneer RESA,

Northwest RESA, Oconee RESA, Metro RESA, Cobb County School District, and

Fulton County School District” [Doc. 174] and the responses in opposition submitted

by the State of Georgia [Doc. 180]; non-parties Metro RESA, Northwest Georgia

RESA, Pioneer RESA, Oconee RESA, Chattooga County School District, Dawson

County School District, Habersham County School District, Forsyth County School

District, and Putnam County School District [Doc. 181]; and non-parties Fulton

County School District and Cobb County School District. [Doc. 182].
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      Pursuant to Federal Rule of Civil Procedure 37, the decision of whether to

compel discovery “is committed to the sound discretion of the trial court.” See

Lowery v. AmGuard Ins. Co., 1:20-CV-05148-TWT, 2022 WL 458595, at *2 (N.D.

Ga. Jan. 24, 2022) (citing Commercial Union Ins. Co. v. Westrope, 730 F.2d 729,

731 (11th Cir. 1984)). Additionally, Rule 26 instructs, in relevant part:

      Parties may obtain discovery regarding any nonprivileged matter that
      is relevant to any party’s claim or defense and proportional to the needs
      of the case, considering the importance of the issues at stake in the
      action, the amount in controversy, the parties’ relative access to
      relevant information, the parties’ resources, the importance of the
      discovery in resolving the issues, and whether the burden or expense of
      the proposed discovery outweighs its likely benefit.

See FED. R. CIV. P. 26(b)(1). In turn, Rule 34 permits discovery through the

inspection of a premises and, specifically, provides that “a nonparty may be

compelled to . . . permit an inspection[.]” See FED. R. CIV. P. 34(c); see also FED.

R. CIV. P. 45(a)(1)(C) (allowing for a subpoena to permit the inspection of a non-

parties’ premises). “The overall purpose of discovery . . . is to require the disclosure

of all relevant information so that the ultimate resolution of disputed issues . . . may

be based on a full and accurate understanding of the true facts,” so as to “embody a

fair and just result.” See Lowery, 2022 WL 458595, at *2 (quoting Cottone v.

Cottone, 1:15-CV-3584-MHC, 2017 WL 9250366, at *2 (N.D. Ga. Oct. 11, 2017))

(internal quotation marks omitted); see also United States v. Proctor & Gamble Co.,

356 U.S. 677, 682 (1958) (same).


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      Here, the Court has applied the non-exhaustive list of factors from Rule

26(b)(1), reviewed the proffered legal authority from the motion to compel and

responses thereto, and considered the arguments by the Parties and above-listed non-

parties. Upon consideration, the Court finds that the United States’ subject Rule 45

subpoenas for inspection of premises are enforceable. [See Doc. 174-1 at 2].

      Accordingly, the Court GRANTS the United States’ “Motion to Compel

Compliance with Rule 45 Subpoenas for Inspection of Premises Affiliated with the

Georgia Network for Educational and Therapeutic Support and Pioneer RESA,

Northwest RESA, Oconee RESA, Metro RESA, Cobb County School District, and

Fulton County School District.” [Doc. 174].

      The Court ORDERS non-parties Metro RESA, Northwest Georgia RESA,

Pioneer RESA, Oconee RESA, Chattooga County School District, Dawson County

School District, Habersham County School District, Forsyth County School District,

Putnam County School District, Fulton County School District, and Cobb County

School District to comply with the terms of the United States’ Rule 45 Subpoenas

for Inspection of Premises, including the site inspection protocol set forth in the

United States’ Attachment A to the Subpoenas. [E.g., Doc. 174-3].




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SO ORDERED, this 12th day of April, 2022.



                                   ______________________
                                   Eleanor L. Ross
                                   United States District Judge
                                   Northern District of Georgia




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